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8                             UNITED STATES DISTRICT COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

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11   RAHMAN R RUSHING,                           Case No. 2:20-06513 AB (ADS)

12                              Plaintiff,

13                              v.               JUDGMENT

14   CYNTHIA Y. TAMPKINS, et al.,

15                              Defendants.

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17         Pursuant to the Court’s Order Dismissing Action for Failure to Prosecute and

18   Comply with Court Orders IT IS HEREBY ADJUDGED that the above-captioned case is

19   dismissed pursuant to Federal Rule of Civil Procedure 41(b).

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21   DATED: April 28, 2021                    _______________________________
                                              THE HONORABLE ANDRE BIROTTE, JR.
22                                            United States District Judge

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